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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

UNITED STATES OF AMERICA,                     :
                                              :
v.                                            :      CASE NO.: 1:23-CR-26 (LAG)
                                              :
DAVID BURKS,                                  :
                                              :
        Defendant.                            :
                                              :
                                         ORDER
        Before the Court is Defendant’s Unopposed Motion to Continue Trial. (Doc. 54).
Therein, Defendant moves to continue the pretrial conference and trial in this matter, which
are currently scheduled for January 3, 2025, and January 27, 2025, respectively. (Docs. 54,
50).
         On December 13, 2023, Defendant was charged in a one-count indictment. (Doc.
22). Defendant initially appeared on January 4, 2024, pled not guilty, and was released
pending trial. (Docs. 30, 31, 35) Defendant represents that a continuance is necessary
because “[t]here are outstanding pretrial issues that are in the process of being resolved”
and “[r]esolution of the pretrial issues may necessitate the need to file additional pretrial
motions.” (Doc. 54 ¶¶11–12). The Government “does not oppose a continuance.” (Id. ¶
13).
        Upon due consideration, the Court finds that the “ends of justice served by the
granting of [a] continuance outweigh the best interests of the public and the defendant in a
speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Specifically, the Court finds that denying the
continuance would deny Defendant the reasonable time to prepare for trial. 18 U.S.C. §
3161(h)(7)(B)(i), (iv). Accordingly, the Unopposed Motion to Continue (Doc. 54) is
GRANTED, and the delay occasioned by this continuance shall be deemed
EXCLUDABLE pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. § 3161.
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      It is hereby ORDERED that the pretrial conference and trial in the above-captioned
matter shall be CONTINUED to a date to be determined later. The deadlines in the Court’s
November 14, 2024, Scheduling Order (Doc. 50) are hereby terminated, and a new
scheduling order will be forthcoming.

             SO ORDERED, this 27th day of December, 2024.

                                          /s/ Leslie A. Gardner
                                          LESLIE A. GARDNER, CHIEF JUDGE
                                          UNITED STATES DISTRICT COURT




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